EXHIBIT “A”

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT ()F GEORGIA

ATLANTA DIVISION
INFINITE ENERGY, INC., a Florida )
Corporation, )
)
Plaintiff, ) CIVIL ACTION FILE
) NO. l:06-CV-2923-CAP
v. )
)
CATALYST ENERGY, LLC, and )
DARREN M. NOVICH, an individual, )
)
Defendants. )

DEFENDANT CATALYST ENERGY. LLC’S
FIRST INTERROGATORIES TO PLAINTIFF

Defendant Catalyst Energy, LLC, pursuant to Rules 26 and 33 of the Federal
Rule of Civil Procedure, hereby serves on Plaintiff Infinite Energy, Inc. the
following Interrogatories to be answered separately and fully in Writing, under
oath, Within thirty (30) days of service hereof

DEFINITIONS AND INSTRUCTIONS

l. The terms “Infinite,” “you,” and “your” shall mean or refer to Plaintiff
Inlinite Energy, Inc., any of its present or former companies, officers, or directors;
any of its related parent oornpanies, divisions, subsidiaries, and aft`iliates; and any
present or former employees, agents, representatives, attorneys, experts,

investigators, or insurers, or any person acting on Infinite’s behalf

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2. The term “Catalyst” shall mean or refer to Defendant Catalyst Energy,
LLC, any of its present or former companies, officers, or directors; any of its
related parent companies, divisions, subsidiaries, and affiliates; and any present or
former employees, agents, representatives, attorneys, experts, investigators, or
insurers, or any person acting on Catalyst’s behalf

3. The term “Novich” shall mean or refer to Defendant Darren M.
Novich and any present or former agents, representatives, attorneys, or any person
acting on Novich’s behalf

4. The term “Complaint” shall mean the Complaint for Damages and
Injunctive Relief and Demand for Jury Trial filed by lnfinite in this litigation and
all allegations contained therein

5. The term “trade secret” shall have the same meaning as in the Official
Code of Georgia §10-1-761.

6. The term “document” shall include any written or graphic matter or
other means of preserving thought or expression and all tangible things from which
information can be processed or transcribed, including, but not limited to, any
printed, written, recorded, taped, electronic, graphic, or other tangible matter from
whatever source, however produced or reproduced, whether in draft or otherwise,
whether sent or received or neither, including the original, all amendments and

addenda and any non-identical copy (whether different from the original because

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of notes made on or attached to such copy or otherwise) of any and all writings,
correspondence, letters, telegrams, telex communications, cables, notes, notations,
papers, newsletters, memoranda, inter-office communications, electronic mail,
releases, agreements, contracts, books, pamphlets, studies, minutes of meetings,
recordings or other memorials or any type of personal or telephone conversations,
meetings or conferences (including, but not limited to, telephone bills and long
distance charge slips), reports, analyses, evaluations, estimates, projections,
forecasts, receipts, statements, accounts, books of account, diaries, calendars, desk
pads, appointment books, stenographer’s notebooks, transcripts, ledgers, registers,
worksheets, journals, statistical records, cost sheets, summaries, lists, tabulations,
digests, canceled or unconcealed checks or drafts, vouchers, charge slips, invoices,
purchase orders, hotel charges, accountant’s reports, financial statements,
newspapers, periodical or magazine materials, and any material underlying,
supporting or used in the preparation of any documents The term “document”
also means any and all computer records, data and information of whatever kind
whether printed out or stored on or retrievable from floppy diskette, compact
diskette, magnetic tape, optical or magnetic-optical disk, hard drive or rapid access
memory, including without limitation, all back-up copies, undeleted data, and

dormant or remnant files.

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7. “Person, persons, individual,” or “individuals” shall mean or refer
to all entities, including, but not limited to, all natural persons, associations,

companies, partnerships, joint ventures, corporations and governmental bodies.

8. “Knowledge” means information derived from any source, including
hearsay knowledge
9. “Relates to” or “relating to” or any similar phrase means constitutes,

contains,_ embodies, reflects, identifies, states, refers to, deals with, or is in any way
pertinent

lO. “Communication” means all written communications between two or
more persons contained in any documents, or oral communications, including
telephone communications, personal conferences, meetings or otherwise, between
two or more persons

ll. The singular and plural shall be construed interchangeably herein

lZ. As used herein, the words “or” and “and” shall mean “and/or.”

l3. To “identify” a natural person means to provide his or herz (a) full
name; (b) present or last known residence or business address and residence and
business telephone numbers, including area code; and (c) present or last known
employer, position, or title and job description

l4. To “identify” a document means: (a) to provide a description of the

document; (b) to state the identity of the person(s) who authored or prepared it; (c)

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in the case of an agreement or contract, to state the identity of the signatory parties;
(d) to state the identity of the addressee(s) and the recipient(s), if any, of the
original document and any copy thereof; (e) to state the title thereof, if any, and a
description of the general nature of its subject matter; (f) to state the date on the
document, or if none, the approximate date of its preparation; (g) to state the
present location of any and all copies of the document; and (h) to state the identity
of the person(s) who now have custody, control, or possession of the document or
copies thereof
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l. You are to respond to all Interrogatories with any information which
you have or which is reasonably available to you, including information in the
possession, custody or control of your attorneys, investigators, agents, associates,
partners or representatives If your response to any Interrogatory is that the
information is not possessed or reasonably available to you, please describe in
detail the efforts you made to locate or obtain the information, together with its
likely source.

2. If you limit, withhold or object to providing any information for any
reason of privilege, relevancy or otherwise, please describe in detail (l) the legal or
procedural basis for your action, (2) the nature and extent of the limitation or

withholding of the information or item, and (3) any legal authority for your action

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or limitation, so as to permit judicial evaluation of and ruling upon the propriety of
your action or limitation

3. Whenever a date, amount, computation, or figure is requested, the
exact date, amount, computation or figure is to be given unless it is not known, in
which case the approximate or best estimate of the date, amount, computation or
figure should be given. The fact that the answer is an approximation should be so
stated.

4. lf an objection is made that a particular Interrogatory is overly broad
or burdensome, specify the manner in which the Interrogatory is overly broad or
burdensome and respond to the Interrogatory as narrowed to conform to any such

objection
INTERROGATORIES

Interrogatory No. 1:

Identify and describe in detail all of your alleged trade secrets referred to
anywhere in the Complaint With respect to each, state separately:

(a) the date on which the same was developed;

(b) the steps taken to develop the same;

(c) the identity of every person who participated in the development of

the same and the role that each said person played in the development;

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(d) the cost to Infinite of developing the same or, if not developed by
Infinite, the cost to Infinite of acquiring the same, the date acquired and identity of
the person, firm or corporation from whom acquired;

(e) the identity of every person who has had access to the same and
whether each person signed a written agreement to maintain the secrecy or
confidentiality of the same (l) prior to access and (2) at any time thereafter;

(f) how the same is labeled or identified as being a trade secret;

(g) the identity of all documents that refer or relate to the same; and

(h) the economic value of the same.

Interrogatory No. 2:

Identify any information that Infinite claims is not a trade secret but is either
confidential or proprietary and describe the economic value of same.
Interrogatory No. 3:

Describe in detail all relief, remedies or damages that you are requesting in
this litigation from Catalyst, but not limited to:

(a) a detailed statement of all relief, remedies or damages you are
requesting in this litigation based on each count in your Complaint;

(b) the amount of all such relief, remedies or damage and the manner or
method for calculating all relief, remedies or damages that you are requesting in

this litigation based on each count in your Complaint;

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(c) the identity of each person who has knowledge of facts that support or
refute the relief, remedies or damages as well as the identity of each person who
has knowledge of facts that support or refute the amount, manner or method for
calculating such relief, remedies or damages that you are requesting; and

(d) the identity of all documents that support or refute the relief, remedies
or damages as well as the identity of all documents that support or refute the
amount, manner or method for calculating such relief, remedies or damages that
you are requesting
Interrogatory No. 4:

Identify and describe in detail every copyright or copyrighted work that you
claim is at issue in this case and for each such copyright or copyrighted work
identified, provide the date of its creation, its author(s) or contributor(s), the
contributions of each author or contributor, its date of first publication, whether
each work is subject to a valid U.S. Copyright Registration, and the registration
number of each such U.S. Copyright Registration.

Interrogatory No. 5:
Identify every original element of every copyrighted work that you

identified in response to Interrogatory No. 4 above.

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Interrogatory No. 6:

For each expert witness whom you expect to call to testify at any hearing or
trial of this action, identify the expert’s name, each document provided to such
person and each document otherwise used by, relied upon, known or available to,
or created in whole or in part by said person in connection with that person’s role
in this case and which forms a part of the basis of any opinion to which said person
is expected to testify, and identify all documents that reflect, refer, or relate to your
response to this Interrogatory
Interrogatory No. 7 :

Identify all documents that reflect, refer or relate to the resources and efforts
used to develop any of the alleged trade secrets referenced in the Complaint
Interrogatory No. 8:

Describe in detail all measures taken by Infinite to maintain the
confidentiality of the alleged trade secrets referenced in the Complaint
Interrogatory No. 9:

Identify the fourteen (14) customers referenced in Paragraph 49 of the
Complaint.

Interrqgatorv No. 10:
Identify all present, former and prospective Infinite customers who have

transferred their business to Catalyst.

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Interrogatory No. 111

Identify all present, former and prospective Infinite customers who have
transferred their business to any other natural gas marketer besides Catalyst.
Interrogatory No. 12:

Describe in detail all facts supporting the allegation set forth in Paragraph 56
of the Complaint that “Defendants are now using Infinite Energy’s confidential and
proprietary information to target Infinite Energy’s customers and remaining
employees in their ongoing scheme to unfairly compete against Infinite Energy in
the marketplace.”

Interrogatory No. 13:

Describe in detail all facts supporting the allegation set forth in Paragraph 77
of the Complaint that “Catalyst conspired and participated with Novich in his
conversion of Infinite Energy’s property.”

Interrogatory No. 14:

Identify all customers that ceased purchasing or using natural gas from
Infinite prior to February 2007, the date on which each such customer ceased doing
so, and any reason(s) cited by each such customer for doing so.

Interrogatory No. 15:
Identify each person who provided information in connection with your

responses to these Interrogatories.

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Interrqgatorv No. 16:

Describe in detail the criteria utilized in hiring Infinite salespersons,
including but not limited to, any references Infinite requires and any documents
Infinite reviews during the hiring process
Interrogatory No. 17:

Identify all persons involved in the drafting of your CGS Agreement and for
each such person identified, describe that person’s role in the drafting of your CGS

Agreement.

- is
Dated this :D_:day of February, 2007. W
l t

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CERTIFICATE OF SERVICE
I hereby certify that l have this day served counsel for the opposing party
with a copy of the within and foregoing by hand delivery to:

David A. Rabin
Marguerite E. Patrick
Grlando P. Ojeda, Jr.

Morris, Manning & Martin, LLP
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Atlanta, Georgia 30326

and by depositing a copy in the United States mail, postage prepaid, addressed to:

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Wargo & French, LLP
l 170 Peachtree Street
Suite 2020

Atlanta, GA 30326 li

David\f. Pardue

  

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